 Case 1:18-cv-00950-PTG-JFA Document 61-2 Filed 12/19/18 Page 1 of 3 PageID# 805




                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                           Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                  CONFIDENTIAL DECLARATION OF BRENT K. BECK
        IN SUPPORT OF COX’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL

            I, Brent K. Beck, declare as follows:


            1.         I am a Software Engineer II working at Cox Communications, Inc. I have worked

     for Cox since 2001, and I have been involved with Cox’s Cox Abuse Tracking System (“CATS”)

     since 2007. I submit this declaration in support of Cox’s opposition to Plaintiffs’ motion to

     compel production of documents. I have personal knowledge of the facts stated in this

     Declaration, and if called as a witness, could testify competently to the matters contained herein.

            2.         Cox receives emails about numerous different kinds of issues, generically termed

     “abuse” issues. So-called abuse emails include notices of alleged copyright infringement, as well

     as notices unrelated to infringement.

            3.




                                                               .


                                                       1
Case 1:18-cv-00950-PTG-JFA Document 61-2 Filed 12/19/18 Page 2 of 3 PageID# 806




        4.




        5.




        6.




        7.

 I estimate that to extract the complaints associated with tickets from 2010-2014,

                                                     , it would take approximately two to four

 weeks of around-the-clock computer processing time. I further estimate that doing so would

 require approximately two to four days of engineer time.

        8.      I estimate that the resulting data would occupy roughly 78 gigabytes of storage

 space, and if printed would be well in excess of ten million pages.




                                                 2
Case 1:18-cv-00950-PTG-JFA Document 61-2 Filed 12/19/18 Page 3 of 3 PageID# 807




                  Atlanta, Georgia .
